Case: 1:18-cv-07787 Document #: 58 Filed: 04/04/19 Page 1 of 2 PagelD #:5571

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BULGARI, S.p.A.,
Case No. 18-cv-07787
Plaintiff,
Judge John Z. Lee
Vv.
Magistrate Judge Jeffrey T. Gilbert
XIA WANG, et al.,
Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on March 5, 2019 [53], in favor
of Plaintiff Bulgari, S.p.A. (“Bulgari”) and against the Defendants Identified in Schedule A in
the amount of two hundred fifty thousand dollars ($250,000) per Defaulting Defendant, and
Bulgari acknowledges payment of an agreed upon damages amount, costs, and interest and
desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendant:

 

Defendant Name Line No.

 

 

 

 

MeiFu Bag Store 119

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
Case: 1:18-cv-07787 Document #: 58 Filed: 04/04/19 Page 2 of 2 PagelD #:5572

Dated this 4th day of April 2019.

Respectftily submitted,

i~—

Amy C. Ziegler

Justin R. Gaudio

Allyson M. Martin

Greer, Burns & Crain, Ltd.

300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606

312.360.0080 / 312.360.9315 (facsimile)
aziegler@gbc.law

jgaudio@gbc.law

amartin@gbc.law

Counsel for Plaintiff Chrome Hearts LLC

Subscribed and sworn to me by Justin R. Gaudio, on this 4th day of April 2019.

Given under by hand and notarial seal.

ALYSSA GUYNN
Official Seal

Notary Public - State of filinois
My Commission Expires Nov 16, 2022

 

{jy

Notary Publié 4

State of Illinois
County of Cook
